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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 AIR CANADA AND AEROPLAN INC.,


              Plaintiffs,                Case No. 1:23-cv-01177-GBW

     v.
                                         JURY DEMAND REQUESTED
 LOCALHOST LLC,


                Defendant.


           DEFENDANT LOCALHOST LLC’S REPLY IN SUPPORT OF ITS
                      PARTIAL MOTION TO DISMISS


Dated: January 29, 2024
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I.     INTRODUCTION

       Plaintiffs Air Canada and Aeroplan, Inc. (“Air Canada”) have brought breach of contract

claims against Defendant Localhost, LLC (“Localhost”) based on browse wrap Terms of Use

found on the Air Canada website (the “Terms”). Air Canada has recently asked this Court to

specifically enforce the Terms to enjoin Localhost from performing the data gathering critical to

its business (Dkt. 15). However, in bringing its contract claims in this District, Air Canada has

ignored the section of its own Terms that requires the application of Canadian law and Calgary,

Alberta as a venue (see Dkt. 8-1 at PageID#:80).

       Despite the mandatory nature of this venue provision, Air Canada alleges that its contract

claims are saved from dismissal under the doctrine of forum non conveniens by (1) the recitation

of “non-exclusive jurisdiction,” and (2) a different section of the Terms posted under the heading

“Injunctive and Similar Relief” and only visible by clicking on that heading. When a website user

clicks on “Injunctive and Similar Relief,” the following phrase appears:

       You agree that Air Canada may commence an action in any court of competent
       jurisdiction in order to enforce these Terms of Use and to seek damages and/or
       equitable relief against you for any breaches by you of these Terms of Use.

(Id. at PageID#:80-81).
       Air Canada argues that its Terms should be read to require that only Air Canada’s

customers must sue Air Canada in Alberta, but that Air Canada may sue website users in whatever

forum Air Canada likes. Air Canada’s position is incorrect. Neither the “non-exclusive

jurisdiction” language nor the “Injunctive and Similar Relief” section detracts from the mandatory

nature of the forum clause nor its applicability to Air Canada. This is particularly true as Air

Canada is the drafter of the Terms and all ambiguity should be resolved against it.

       Finally, even without considering the existence of the forum clause in the Terms, the forum

non conveniens analysis favors dismissal of Air Canada’s contract claims.

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II.    ARGUMENT

       A.        Mandatory Forum Selection Clause

       The forum selection clause is mandatory. Air Canada does not dispute that the language

“any dispute is to be submitted” in the forum clause is mandatory in nature. See also Natan’s

Trading, Ltd v. Energizer Holdings, Inc., 2020 U.S. Dist. LEXIS 164925, *7 (D. Utah Sept. 9,

2020) (“The language ‘is to be’ is most naturally understood as mandatory”). Instead, Air Canada

alleges that the later use of “non-exclusive” transforms the forum selection clause from mandatory

to permissive.

       Air Canada is not the first company to try to undermine its own terms by pitting “non-

exclusive” jurisdiction against mandatory forum selection language. However, this argument has

been rejected by courts across the country analyzing similar language. See Muzumdar v. Wellness

Int’l Network, Ltd., 438 F.3d 759, 762 (7th Cir. 2006)(“We cannot find that a provision which

requires appellants to submit to the ‘non-exclusive’ jurisdiction of Texas courts somehow

undermines a very strongly worded forum selection clause containing mandatory language”); Sick

Kids (Need) Involved People of N.Y., Inc. v. 1561599 Ont., Inc., 2015 U.S. Dist. LEXIS 130600,

*9 (S.D.N.Y Sept. 25, 2015) (finding that mandatory language “shall be commenced” made a

forum clause mandatory under Ontario law despite language “each of the parties hereto irrevocably

attorns to the non-exclusive jurisdiction”); Fenley v. Tulsa Inspection Res., LLC, 2015 U.S. Dist.

LEXIS 57331, *8 (D. Kan. May 1, 2015) (“the nonexclusive jurisdictional provision in the second

sentence does not undermine the mandatory forum selection clause in the first sentence”); In re

Fisher, 433 S.W.3d 523, 533 (Tex. 2014)(“we conclude that where the phrase ‘non-exclusive

jurisdiction’ is in a venue selection clause that also includes language reflecting intent that the




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venue choice is mandatory, the non-exclusive language does not necessarily control over the

mandatory language”).

       The Seventh Circuit recently found a strikingly similar forum clause to be mandatory in

IAC/InteractiveCorp. v. Roston, 44 F.4th 635 (7th Cir. 2022). There the Seventh Circuit addressed

this phrase:

       Any such dispute will be heard and determined before an appropriate federal court
       located in the State of California in Alameda County, or, if not maintainable therein,
       then in an appropriate California state court located in Alameda County, and each
       party hereto submits itself and its property to the non-exclusive jurisdiction of the
       foregoing courts with respect to such disputes.

IAC, 44 F.4th at 639. The Court held that “will be heard” made this a mandatory clause,

notwithstanding the later “non-exclusive jurisdiction” language. Id. at 643. The Court reasoned

that, as a whole, the clause meant that “many courts [] may have proper personal jurisdiction over

the parties, but only a few of those [] are the proper venue for disputes.” Id. at 644 (internal

parenthetical omitted). The Court concluded that “[i]f a contract has both mandatory venue and

forum language and permissive jurisdiction language, the separate permissive consent to

jurisdiction clause does not defeat the mandatory forum selection clause.” Id.

       Air Canada’s only attempt to address IAC is to say that the mandatory venue clause there

was a separate clause from the permissive jurisdictional clause. Here, the “non-exclusive

jurisdiction” language is included in the same phrase as the mandatory venue language. That is,

Air Canada is arguing that the phrase:

       “Any dispute is to be submitted to the non-exclusive jurisdiction of the courts in
       the judicial district of Calgary”

is somehow different from:

       “Any dispute is to be submitted to the courts in the judicial district of Calgary, and
       the parties submit to the non-exclusive jurisdiction of that Court.”



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This semantic argument does nothing to address the underlying reasoning in IAC that mandatory

venue language and non-exclusive jurisdiction do not conflict.

       Other courts have followed the Seventh Circuit’s reasoning when analyzing clauses that

include both mandatory language and non-exclusive jurisdiction in an uninterrupted clause. See

In re Fisher, 433 S.W.3d at 533 (finding the phrase “each of the parties irrevocably submits to the

non-exclusive jurisdiction” to be mandatory).

       B.      The Forum Selection Clause Applies to Air Canada

       Air Canada’s interpretation that the forum-selection clause only applies to actions filed by

website users and not actions filed by Air Canada is incorrect. There is nothing in the forum-

selection clause that indicates that it should be so limiting. The clause broadly references “[a]ny

dispute” (see Dkt. 8-1 at PageID#:80). The clause does not read “any disputes by you,” and the

Terms do specify certain other one-sided clauses with reference to “you” -- that is, the website

user (see Id. at PageID#:77, 81: “You represent and warrant to us that you…”; “You may not

access…”; “You agree that…”). Indeed, in comparison, the “Injunctive and Similar Relief” section

is clearly only applicable to Air Canada. If Air Canada intended to set forth such a one-sided

forum-selection clause it had the words to do so.

       Further, interpreting the Terms to require Air Canada as well as website users to submit

disputes to Alberta does not render the “Injunctive and Similar Relief” section of the Terms

superfluous. The “Injunctive and Similar Relief” section, when read in conjunction with the forum-

selection clause, asks the user to acknowledge that Air Canada can bring claims for injunctive

relief to enforce the Terms in any court within the judicial district of Calgary, Province of Alberta.

Notably, there are different courts within Calgary, including the Alberta Court of Justice and the

Court of King’s Bench of Alberta, both of which hear trials on civil matters (see Ex. A).



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        Moreover, Air Canada’s complaint does not only seek “Injunctive and Similar Relief,” but

rather seeks both injunctive relief and money damages (Dkt. 1 at PageID#:26). If Air Canada were

to assert that it is only seeking injunctive relief based on its breach of contract theory, then perhaps

this section might have more applicability.

        Finally, even accepting Air Canada’s interpretation that the “Injunctive and Similar Relief”

section means that Air Canada may bring contract claims based on the Terms anywhere in the

world, then that section would conflict with the clear meaning of the forum selection clause. So,

either the “Injunctive and Similar Relief” section only applies to claims for injunctive relief within

the judicial district of Calgary or that section introduces ambiguity into the Terms. And since Air

Canada is the drafter of the Terms, any ambiguity should be weighed against Air Canada. See Xin

Ma v. Xiangqun Li, 2022 U.S. Dist. LEXIS 72328, *5 (D.N.J. April 20, 2022) (“Where it is unclear

whether a forum-selection clause is mandatory or permissive, contract ambiguities should be

construed against the drafter”); Caribbean Gardens Condo. Ass’n v. Markel Ins. Co., 2016 U.S.

Dist. LEXIS 201021, *4 (S.D. Fla. May 11, 2016) (“If a clause is ambiguous, such that a court

cannot determine whether a clause is permissive or mandatory, the clause should be construed

against the drafter.”).

        C.      Traditional Forum Non Conveniens Favors Dismissal

        While the presence of a mandatory forum-selection clause makes the argument easier, the

forum non conveniens analysis would still favor dismissal even without the mandatory clause.

        As noted in Localhost’s opening brief, under the traditional forum non conveniens analysis

courts consider (1) the amount of deference to plaintiffs’ choice of forum, (2) the availability of

an adequate alternative forum, (3) private interest factors affecting convenience of the litigants,

and (4) public interest factors affecting the convenience of the forum. Collins v. Mary Kay, Inc.,



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874 F.3d 176, 186 (3rd Cir. 2017). A mandatory forum selection clause allows a court to bypass

consideration of the first factor (plaintiffs’ choice of forum) and third factor (private interest). Id.

        However, consideration of the first (choice deference) and third factors (litigant

convenience) here actually bolster the case for dismissal. With respect to the first factor, while a

plaintiff’s choice of forum is normally entitled to a fair amount of weight, the Third Circuit has

instructed that this is not the case where, as here, the Plaintiff is a foreign entity. “Because the

central purpose of any forum non conveniens inquiry is to ensure that the trial is convenient, a

foreign plaintiff’s choice deserves less deference.” Windt v. Qwest Communs. Int’l, Inc., 529 F.3d

183, 190 (3d Cir. 2008). Indeed, foreign plaintiffs “may bolster the amount of deference due their

choice only by making a strong showing of convenience.” Advanced Techs. & Installation Corp.

v. Nokia Siemens Networks US, LLC, 2010 U.S. Dist. LEXIS 91370, *17-18 (D.N.J. Sept. 2,

2010)(citing Windt, 529 F.3d at 190); see also Kisano Trade & Invest Ltd. v. Lemster, 737 F.3d

869, 873 (3d Cir. 2013)(“When a plaintiff is foreign [] the choice of a United States forum deserves

less deference. Among other reasons, courts are wary of the potential for foreign plaintiffs to seek

jurisdiction in the United States because the laws may be more favorable to their claims” (internal

citations omitted)). Here, Air Canada has made no showing of greater convenience, and as

discussed below, it would be more convenient to litigate Air Canada’s contract claim in Canada.

        Regarding the third factor (private interests), courts consider the “relative ease of access to

sources of proof; availability of compulsory process for attendance of unwilling, and the cost of

obtaining attendance of willing, witnesses; possibility of view of premises, if view would be

appropriate to the action; and all other practical problems that make trial of a case easy, expeditious

and inexpensive.” Delta Air Lines, Inc. v. Chimet, S.P.A., 619 F.3d 288, 296 (3d Cir. 2010). Given




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the nature of this dispute, there is no relevant premises to view and a majority of the evidence will

be electronically stored information (“ESI”), which would be easily accessible in either forum.

       However, it appears clear that the cost and convenience of obtaining willing witnesses and

the ability to compel unwilling witnesses favors a Canadian forum. Localhost is a small company

with only one full time employee and one part-time employee. On the other hand, Air Canada is a

company with about 30,500 employees (see Ex. B). Most of the relevant witnesses in the contract

case will be Air Canada employees and presumably Canadian and so it will be far more convenient

for these witnesses to participate in a Canadian trial and easier for Localhost to secure their trial

testimony by subpoena. Indeed, Air Canada has identified several potential Canadian witnesses in

support of its Motion for Preliminary Injunction (see, e.g., Dkt. 21, PageID#:797 – “Derek

Whitworth of the City of Toronto in the Province of Ontario”).

       Moreover, it will be easier to compel the testimony of some relevant third-parties in the

Canadian forum. For example, Localhost anticipates investigating Air Canada’s relationship with

its partner airlines during discovery, and at least five of these airlines, Air Creebec, Calm Air,

Canadian North, Central Mountain Air, and PAL Airlines are all Canadian entities (see Ex. C).

Additionally, there could be former employees of Air Canada, likely located in Canada, which

may have relevant testimony. These third-parties could not be compelled to testify by this Court,

but could be compelled to testify in a Canadian forum. See Howe v. Goldcorp Invest., Ltd., 946

F.2d 944, 951 (1st Cir. 1991)(approving dismissal under forum non conveniens where “only

Canadian courts, not courts within the United States, have the legal power to compel the testimony

of twelve Canadian potential witnesses who are not under the control of any party”).

       Further, the second factor (adequate alternative forum) and fourth factor (public interest)

also favor dismissal. Air Canada does not dispute that Calgary, Alberta would be adequate. And



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here we have a Canadian entity bringing a breach of contract action based on an alleged contract

designating Canadian law and a Canadian forum for the resolution of disputes. Consideration of

the public interest favors resolution of such a dispute in Canada. See Moss v. Tiberon Mineral Ltd.,

2007 U.S. Dist. LEXIS 83975, *9 (N.D. Cal., Nov. 1, 2007)(“Canadian courts have an interest in

resolving Canadian-law claims”).

       Finally, the fact that some of Air Canada’s claims would remain in this District should not

factor against dismissal. The remainder of Air Canada’s causes of action are weak, as evidenced

by the fact that Air Canada did not rely on them in its Motion for Preliminary Injunction (see Dkt.

15 at PageID#:108). In particular, Localhost’s use of the Air Canada trademarks are covered by

nominative fair use (see Century 21 Real Estate corp. v. Lendingtree, Inc., 425 F.3d 211, 232 (3d

Cir. 2005), and the Computer Fraud and Abuse Act (“CFAA”) is not implicated by data gathering

activities. See hiQ Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1201 (9th Cir. 2022)(“when a

computer network generally permits public access to its data, a user’s accessing that publicly

available data will not constitute access without authorization under the CFAA”). Air Canada

should not be permitted to bring its contract claims in this forum, no matter how inconvenient,

simply because it appended additional weak claims only cognizable under federal law.




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Dated: January 29, 2024             Respectfully Submitted,


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